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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO.: 21-CR-392-RCL
                                                  :
              v.                                  :
                                                  :
 ALAN HOSTETTER,                                  :
 RUSSELL TAYLOR,                                  :
 ERIK SCOTT WARNER,                               :
 FELIPE ANTONIO “TONY”                            :
 MARTINEZ,                                        :
 DEREK KINNISON, and                              :
 RONALD MELE,                                     :
                                                  :
                                                  :
                    Defendants.                   :

            MOTION TO CONTINUE STATUS HEARING AND TO EXCLUDE
                     TIME UNDER THE SPEEDY TRIAL ACT

       The United States of America respectfully moves to continue the July 28, 2022 status

hearing in this case for a period of 45 days, and to exclude the time until the next hearing under

the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv). The government seeks this

continuance in order to continue ongoing discussions with defense counsel concerning a pre-trial

resolution for some of the defendants in this case. The government submits that this continuance

will be in the interests of justice and will outweigh the interests of the public and the defendants

in a speedy trial based upon the needs of the parties to engage in ongoing discussions concerning

a potential pre-trial resolution of the case, and for the parties to thereafter engage in effective

preparations, as needed, for any trial. Counsel for five of the defendants (Mele, Martinez, Warner,

Kinnison, and Taylor) consent to this request. Prior to filing this motion, on July 24, 2022, the

government contacted Mr. Hostetter for his position on this motion but has not yet received a

response.

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       WHEREFORE, the United States respectfully requests a 45-day of the July 28, 2022 status

hearing, and to exclude the time until the next hearing under the Speedy Trial Act.


                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             DC Bar No. 481052

                                      By:    _/s/ Risa Berkower________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                         :    CRIMINAL NO.: 21-CR-392-RCL
                                                  :
              v.                                  :
                                                  :
 ALAN HOSTETTER,                                  :
 RUSSELL TAYLOR,                                  :
 ERIK SCOTT WARNER,                               :
 FELIPE ANTONIO “TONY”                            :
 MARTINEZ,                                        :
 DEREK KINNISON, and                              :
 RONALD MELE,                                     :
                                                  :
                                                  :
                    Defendants.                   :

                                             ORDER

       Upon consideration of the United States’ motion to continue the July 28, 2022 status

hearing in this case for 45 days and to exclude time under the Speedy Trial Act, it is hereby:

       ORDERED, that the motion is GRANTED, and it is further

       ORDERED, that a status hearing in this case will be set for September __, 2022, and

       ORDERED, that time between July 28, 2022 and September __, 2022 will be excluded

under the Speedy Trial Act, 18 U.S.C. § 3161. The Court finds good cause for excluding this

time under 18 U.S.C. § 3161(h)(7)(A), (B)(i), (ii), and (iv) based upon the needs of the parties to

engage in ongoing discussions concerning a potential pre-trial resolution of the case, and to

thereafter engage in effective preparations, as needed, for any trial. The Court further finds that

the ends of justice served in granting this motion outweigh the interests of the defendants and the




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public in a speedy trial.



Date:                                ___________________________________
                                     SENIOR U.S. DISTRICT JUDGE




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